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14

15                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
16
     MATTHEW PRICE, individually and on                Case No.:
17   behalf of all others similarly situated,
18
                       Plaintiff,                      CLASS ACTION COMPLAINT
19
                  v.
20                                                     JURY TRIAL DEMANDED
21   APPLE, INC., a California corporation,

22                     Defendant.

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1                Plaintiff, Matthew Price, by and through his undersigned counsel, Shub Law Firm LLC,
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     Frederick Law Group, PLLC, and Timoney Knox, LLP, on behalf of himself and all others
3
     similarly situated, brings this Class Action Complaint against Apple, Inc. (hereinafter “Apple” or
4
     “Defendant”), and alleges as follows upon personal knowledge as to himself and his own acts and
5

6    experiences and, as to all other matters, alleges, upon information and belief based upon, inter

7    alia, investigations conducted by his attorneys:
8
                                            NATURE OF THE CASE
9
                 1.     This is a class action lawsuit brought by Plaintiff, Matthew Price, individually and
10
     on behalf of Classes of consumers against Apple.
11

12               2.     Plaintiff and Class Members each had an Apple ID and/or purchased, “Apps” 1

13   and/or “Content” including movies, music, games, media, books, and/or made in-app purchases
14
     of “Content” and/or “Services” 2 (collectively “Content”) through the use of an Apple ID 3 via
15
     either an Apple device, such as an iPhone, iPad, Mac, Apple Watch, and/or Apple TV, and/or a
16
     non-Apple manufactured device.
17

18               3.     Apple designs, manufactures, and markets smartphones, personal computers,

19   tablets, watches, and accessories, and sells, or otherwise makes available, related Content.
20

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23   1
       The Apple Media Service Terms and Conditions last updated September 16, 2020,attached hereto
24     as “Exhibit A,” states that the term “App” “includes apps and app clips for any Apple platform
       and/or operating system, including any in-app purchases, extensions (such as keyboards),
25     stickers, and subscriptions made available in such apps or app clips.”
     2
       “This Agreement governs your use of Apple’s services (“Services”), through which you can buy,
26     get, license, rent or subscribe to content, Apps [], and other in-app services (collectively,
27     “Content”). Content may be offered through the Services by Apple or a third party.” (See
       “Exhibit A”).
     3
28     “An Apple ID is the account you use across Apple’s ecosystem.” (See “Exhibit A”). It consists
       of an email address and a password to log-in to access Content.
                                                      1
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1                4.   Apple consumers who want to obtain Content, iCloud storage, or make in-app
2
     purchases must do so through Apple, using an Apple ID. Apple consumers must create an Apple
3
     ID and register a valid method of payment to make payments to Apple for any purchases made
4
     through Apple. Even free Apps, content, and services obtained through Apple require an Apple
5

6    ID and valid method of payment. The following is a snip from Apple’s website that further

7    explains this process:4
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     4
         https://support.apple.com/en-us/HT202631
                                                    2
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1                5.   As part of the related content and services that it sells, Apple operates various
2
     platforms, including its App Store. The App Store is a digital distribution platform, developed
3
     and maintained by Apple, for mobile applications (“Apps”) on its iOS & iPadOS operating
4
     systems. The App Store allows consumers to browse, download, and/or purchase Apps developed
5

6    with Apple’s iOS Software Development Kit. Apps can be downloaded on the devices that Apple

7    manufactures and sells, such as iPhones, iPads, Macs, Apple Watches, and/or Apple TVs.
8
                 6.   To purchase and/or access services, Apps, and/or Content through Apple, one must
9
     do so using an Apple ID. The following are snips from Apple’s website which describe the
10
     importance of an Apple ID5:
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         https://support.apple.com/en-us/HT202659
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                 7.    Apple acknowledges, in its Apple Media Services Terms and Conditions (attached
13
     hereto as Exhibit “A”), that “[u]sing our Services and accessing your Content may require an
14

15
     Apple ID. An Apple ID is the account you use across Apple’s ecosystem. Use of Game Center

16   is subject to this Agreement and also requires a Game Center account. Your account is valuable,
17   and you are responsible for maintaining its confidentiality and security.” (Emphasis added)
18
     Exhibit A.
19
                 8.    Without an operable Apple ID, not only can one not access the Content they have
20

21
     already purchased but the functionality of any related Apple Devices is vastly diminished.

22               9.    As such, Apple is correct that its customers’ Apple ID accounts are valuable.
23               10.   Plaintiff has expended $24,590.05 for purchased Content, consisting of related
24
     services, Apps, and Content, including in-App purchases, programs and platform extensions,
25
     accessible only through the use of the Apple ID.
26

27
                 11.   Despite knowing and publicly acknowledging that its customers’ accounts are

28   “valuable,” Apple has included an unlawful, unconscionable clause in its Apple Media Services

                                                        4
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1    Terms and Conditions which permits Apple to, unilaterally, without adequate notice, discernable
2
     process or explanation, permanently terminate its customers’ Apple IDs and preclude access to
3
     the services and Content its customers have already purchased.
4
                 12.   Further, Apple may do so based merely on Apple’s suspicion that they breached
5

6    its Terms and Conditions. Id. Apple’s unlawful and unconscionable clause states:

7                            TERMINATION AND SUSPENSION OF SERVICES
8
                       If you fail, or Apple suspects that you have failed, to comply with
9                      any of the provisions of this Agreement, Apple may, without notice
                       to you: (i) terminate this Agreement and/or your Apple ID, and
10                     you will remain liable for all amounts due under your Apple ID up
                       to and including the date of termination; and/or (ii) terminate your
11
                       license to the software; and/or (iii) preclude your access to the
12                     Services.

13                Apple further reserves the right to modify, suspend, or discontinue
                  the Services (or any part or Content thereof) at any time with or
14
                  without notice to you, and Apple will not be liable to you or to any
15                third party should it exercise such rights.
     (Emphasis added)
16
                 13.   Apple’s unlawful and unconscionable clause acts as a prohibited de facto
17

18   liquidated damages provision which is triggered when Apple suspects its customers have

19   breached its Terms and Conditions. In the event of a suspected breach, Apple permanently
20
     terminates its offending customers’ Apple IDs, thus depriving them of all the Content they
21
     purchased through Apple.
22
                 14.   Additionally, for those Apple customers who have purchased Apple devices, such
23

24   as iPhones, iPads, Macs, Apple Watches, and/or Apple TVs, those devices have been substantially

25   diminished in value because they cannot be used to access the services and Content they
26
     purchased through Apple.
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1                15.   Apple permits the customers whom it suspects breached its Terms and Conditions
2
     to immediately create new Apple IDs so they can repurchase all the services and Content they
3
     already purchased and owned.
4
                 16.   The following is a small sampling of complaints regarding Apple’s
5

6    unconscionable practices:

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24   (Emphasis added) https://discussions.apple.com/thread/251251421

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     (Emphasis added) https://discussions.apple.com/thread/250752046
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18   (Emphasis added) https://discussions.apple.com/thread/3660791

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27
     (Emphasis added) Id.
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19   (Emphasis added)
20
     https://www.reddit.com/r/applehelp/comments/cpukmf/apple_id_disabled_again/
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16   (Emphasis added)
     https://www.reddit.com/r/apple/comments/hz8eko/your_account_has_been_disabled_in_the_ap
17
     p_store/
18
                 17.   To make matters worse, when Apple terminates customers’ Apple IDs, Apple also
19
     prevents these customers from accessing unused funds they may have stored in their Apple
20

21   Accounts.

22               18.   Upon information and belief, Apple has sold over 1.5 billion active Apple devices,
23
     and the vast majority of these devices are associated with an Apple ID. 6 As such, the owners of
24
     these Apple devices have either already been or are at risk of falling victim to Apple’s unlawful
25
     practices as set forth herein.
26

27

28   6
      https://9to5mac.com/2020/01/28/apple-hits-1-5-billion-active-devices-with-80-of-recent-
     iphones-and-ipads-running-ios-13/ (last accessed on March 17, 2021).
                                                    10
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1                19.   Defendant’s conduct is unfair, unlawful, fraudulent, and illegal.        As such,
2
     Defendant’s practices violate Cal. Civ. Code § 1671(d), California’s Consumer Legal Remedies
3
     Act, Cal. Civ. Code § 1750 et seq. (“CLRA”), California’s Unfair Competition Law, Cal. Bus. &
4
     Prof. Code § 17200 et seq. (“UCL”), and California’s False Advertising Law, Cal. Bus. & Prof.
5

6    Code § 17500 et seq. (“FAL”). Plaintiff also brings claims for Conversion, Trespass to Chattels,

7    and Unjust Enrichment.
8
                                         JURISDICTION AND VENUE
9
                 20.   This Court has subject matter jurisdiction pursuant to the Class Action Fairness
10
     Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount in controversy exceeds the aggregate
11

12   sum of $5,000,000 exclusive of interest and costs, there are over 100 putative class members, and

13   minimal diversity exists because at least one member of the Class is a citizen of a different state
14
     than Defendant.
15
                 21.   This Court has personal jurisdiction over Defendant because it is authorized to and
16
     regularly conducts business in California and its principal place of business is in California.
17

18               22.   Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because Defendant

19   resides in this District and a substantial part of the events or omissions giving rise to Plaintiff’s
20
     claims occurred in this District.
21
                                     INTRADISTRICT ASSIGNMENT
22
                 23.   Pursuant to Civil Local Rule 3-2(c-e), a substantial part of the events giving rise
23

24   to the claims herein arose in Santa Clara County, California, and this action should be assigned

25   to the San Jose Division.
26
                                                THE PARTIES
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                                                        11
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1                24.   Plaintiff, Matthew Price, is an adult citizen and resident of Pennsylvania, residing
2
     in Cambria County, Pennsylvania.
3
                 25.   Defendant Apple is a California corporation with its headquarters and principal
4
     place of business in Cupertino, California, which lies within this District. Apple is a citizen of
5

6    California. In addition to being headquartered and having its principal place of business in

7    Cupertino, California, Apple transacts substantial business throughout the State of California,
8
     through advertising, marketing, and ownership of numerous Apple retail stores throughout
9
     California, including several in this District. Further, substantially all of the misconduct alleged
10
     in this Complaint occurred in and/or emanated from this district in California.
11

12                                                   FACTS

13               26.   At all times relevant hereto, Mr. Price has owned an iPhone, iPad, and MacBook
14
     Pro. Since January 8, 2015, he has purchased $24,590.05 in Services and Content through Apple,
15
     using a single Apple ID, for use on his Apple devices.
16
                 27.   At all times relevant hereto, Mr. Price had an Apple ID and was subject to Apple’s
17

18   Terms and Conditions.

19               28.   On or around October 29, 2020, Apple determined that Mr. Price breached its
20
     Terms and Conditions and, without notice, explanation, policy or process, terminated Mr. Price’s
21
     Apple ID which has deprived him of the $24,590.05 of services and Content he purchased through
22
     Apple.
23

24               29.   Mr. Price also had $7.63 of unspent funds in his Apple account when Apple

25   terminated his Apple ID. Now, Mr. Price can no longer access or spend those funds. The following
26
     is a screen shot of Mr. Price’s Apple Account Balance. 7
27

28
      7
          Screen Shot taken on April 6, 2021.
                                                        12
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                 30.   Prior to the time that Apple terminated Mr. Price’s Apple ID, he specifically
17

18   purchased an Apple device, an iPad Pro, to maximize the Services and/or Content he purchased

19   with his Apple ID and upon the termination of his Apple ID, the value and usefulness of the
20
     device Mr. Price purchased was significantly diminished.
21
                 31.   Apple has collected significant revenues from terminating Plaintiff’s and the
22
     Class’s Apple IDs.
23

24               32.   If and to the extent that Apple suffers, would suffer, or has suffered any damage

25   upon the breach of its Terms and Conditions by Plaintiff and the Class, it is neither impracticable
26
     nor extremely difficult to determine the actual damages.
27

28

                                                       13
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1                33.   Furthermore, if and to the extent that Apple suffers, would suffer, or has suffered
2
     any damage upon the breach of its Terms and Conditions by Plaintiff and the Class, the value of
3
     Plaintiff’s and the Class’s Apple IDs are not a reasonable measure or approximation of such
4
     damages and do not provide fair average compensation therefore.
5

6                34.   Depriving Plaintiff and the Class of the value of their Apple IDs, under the

7    circumstances existing at the time when Plaintiff and the Class agreed to the Terms and
8
     Conditions, was unreasonable.
9
                 35.   Upon information and belief, Apple does not conduct a reasonable endeavor to fix
10
     fair average compensation for losses, if any, that it incurs, would incur, or has incurred by virtue
11

12   of any breach of its Terms and Conditions.

13               36.   Further, termination of their Apple IDs upon any breach of Apple’s Terms and
14
     Conditions was not negotiated or discussed with Plaintiff or the Class at any time relevant hereto.
15
                 37.   Apple’s termination of Plaintiff’s and the Class’s Apple IDs is unconscionable,
16
     void, and unenforceable under Civil Code §§ 1670.5, 1671(b), and/or 1671(d), constitutes an
17

18   unlawful, unfair, and deceptive practice under the UCL, and violates the CLRA, including without

19   limitation Cal. Civil Code §§ 1770(a)(4), (a)(9), (a)(14), (a)(16) and (a)(19).
20
                 38.   Accordingly, Plaintiff, on behalf of himself and all others similarly situated, seeks
21
     to enjoin Apple from continuing its unlawful conduct, as set forth herein, and seeks to recover
22
     money paid to and through Apple for Apps, music, movies, TV shows, books, Services and/or
23

24   other Content they purchased but were prohibited from accessing when Apple unlawfully

25   terminated their Apple IDs.
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2
                                     CLASS ACTION ALLEGATIONS
3
                 39.   Pursuant to the provisions of Federal Rules of Civil Procedure 23(a), (b), and (c),
4
     Plaintiff brings this action on behalf of himself and the following Nationwide Class (the
5

6    “Nationwide Class”):

7                      All persons in the United States who own an Apple device and/or who had an
                       Apple ID who had their account terminated pursuant to the Termination and
8
                       Suspension of Service provision in the Apple Media Services Terms and
9                      Conditions.

10               40.   Pursuant to the provisions of Federal Rules of Civil Procedure 23(a), (b), and (c),
11
     Plaintiff brings this action on behalf of himself and the following Subclass (the “Subclass”):
12
                       All persons in the United States who own an Apple device and/or who had an
13                     Apple ID who had their account terminated pursuant to the Termination and
                       Suspension of Service provision in the Apple Media Services Terms and
14
                       Conditions and whose Account carried a positive balance at the time Apple
15                     terminated the Account.

16               41.   The Nationwide Class and Subclass are referred to collectively herein as the
17
     “Classes.”
18
                 42.   Excluded from the Classes are Apple itself, any entity in which Apple has
19
     controlling interests, and Apple’s officers, directors, legal representatives, successors,
20

21   subsidiaries, and assigns; and any judicial officer presiding over this matter, members of their

22   immediate family, members of their judicial staff, and any judge sitting in the presiding court
23
     system who may hear an appeal of any judgment entered.
24
                 43.   Certification of Plaintiff’s claims for classwide treatment is appropriate because
25
     Plaintiff can prove the elements of his claims on a classwide basis using the same evidence as
26

27   would be used to prove those elements in individual actions asserting the same claims.

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1                44.   This action has been brought and may be properly maintained on behalf of the
2
     Classes proposed herein under Rule 23 of the Federal Rule of Civil Procedure and satisfies the
3
     numerosity, commonality, typicality, adequacy, predominance, and superiority requirements of
4
     its provisions.
5

6                45.   Plaintiff reserves the right to amend the Class and/or Subclass definitions based

7    on information learned through discovery.
8
                 46.   Numerosity - Fed. R. Civ. P. 23(a)(1): Consistent with Rule 23(a)(1), the
9
     members of the Classes are so numerous and geographically dispersed that the joinder of all
10
     members is impractical. While the exact number of Class Members and Subclass Members
11

12   (collectively, “Class Members”) is unknown to Plaintiff at this time, there are hundreds of

13   thousands of Apple customers who have, or have had, an Apple ID, who owned an Apple
14
     Device(s), and/or who had Apple terminate their Apple IDs during the class period and/or have
15
     been prevented from accessing any unused money in their Apple Accounts. The members of the
16
     Classes can be readily identified through Apple’s records.
17

18               47.   Commonality and Predominance - Fed. R. Civ. P. 23(a)(2) and (b)(3): This

19   action involves common questions of law and fact that predominate over any questions affecting
20
     individual Class Members. The common questions include, but are not limited to:
21
                        a.    Whether Defendant engaged in the conduct alleged herein;
22
                        b.    Whether Defendant included an unconscionable clause in its Terms and
23
                              Conditions;
24
                        c.    Whether Defendant included a prohibited de facto liquidated damages
25                            clause in its Terms and Conditions;
26
                        d.    Whether Defendant committed trespass to chattels when it terminated its
27                            customers’ Apple IDs;

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1                       e.   Whether Defendant unlawfully converted Plaintiff’s and the Classes’
                             property when it terminated their Apple IDs;
2

3                       f.   Whether Defendant’s practice of terminating Plaintiff’s and the Classes’
                             Apple IDs is unconscionable;
4
                        g.   Whether Defendant’s practice of terminating Plaintiff’s and the Classes’
5
                             Apple IDs violates the UCL;
6
                        h.   Whether Defendant’s practice of terminating Plaintiff’s and the Classes’
7                            Apple IDs violates the CLRA;
8
                        i.   Whether Defendant’s practice of terminating Plaintiff’s and the Classes’
9                            Apple IDs violates the FAL;

10                      j.   Whether Plaintiff and the Classes are entitled to restitution of the value of
                             their Apple IDs after Apple terminated them;
11

12                      k.   Whether Plaintiff and the Classes are entitled to an award of reasonable
                             attorneys’ fees, pre-judgment interest, and costs of this suit;
13
                        l.   Whether Defendant should be enjoined from terminating its customers’
14
                             Apple IDs.
15
                        m.   Whether Defendant violated Cal. Civ. Code § 1671(d);
16
                        n.   Whether Plaintiff and the Classes are entitled to recover monetary damages
17
                             for the services and Content they paid for and lost access to when
18                           Defendant terminated their Apple IDs;

19                      o.   Whether the value of Plaintiff’s and the Classes’ Apple devices was
                             diminished when Apple terminated their Apple IDs;
20

21                      p.   Whether Plaintiff and the Classes are entitled to recover monetary damages
                             for the diminished value of their Apple devices when Apple terminated
22                           their Apple IDs;
23
                        q.   Whether Plaintiff and the Classes have sustained financial loss and the
24                           proper measure of any such financial loss;

25                      r.   Whether Plaintiff and the Classes are entitled to damages, and the proper
                             measure of any such damages;
26

27                      s.   Whether Defendant has been unjustly enriched at the expense of Plaintiff
                             and the Classes;
28

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1                       t.    Whether Plaintiff and the Classes are entitled to injunctive relief; and
2
                        u.    Such other common factual and legal issues as are apparent from the
3                             allegations and causes of action asserted in this Complaint.

4                48.   Typicality - Fed. R. Civ. P. 23(a)(3): Plaintiff’s claims are typical of other Class
5
     members’ claims because Plaintiff and Class Members were, or may be, subjected to the same
6
     allegedly unlawful conduct and were, or may be, damaged in the same way, i.e., they all lost the
7
     value of their Apple accounts when Apple terminated their Apple IDs or are risk of the same.
8

9                49.   Adequacy - Fed. R. Civ. P. 23(a)(4): Consistent with Rule 23(a)(4), Plaintiff will

10   fairly and adequately represent the Classes. Plaintiff has the best interests of the members of the
11
     Classes in mind. Plaintiff has no conflicts of interest with the Classes. Plaintiff’s counsel are
12
     competent and experienced in litigating class actions, including extensive experience in consumer
13
     protection claims. Plaintiff intends to vigorously prosecute this case.
14

15               50.   Superiority - Fed. R. Civ. P. 23(b)(3): A class action is superior to other available

16   methods for the fair and efficient adjudication of these claims because individual joinder of the
17
     claims of all members of the Classes is impracticable. Many members of the Classes are without
18
     the financial resources necessary to pursue this matter. Even if some could afford to litigate
19
     claims separately, such a result would be unduly burdensome to the courts in which the
20

21   individualized cases would proceed. Individual litigation increases the time and expense of

22   resolving a common dispute concerning Defendant’s actions toward an entire group of individuals.
23
     Class action procedures allow for far fewer management difficulties in matters of this type and
24
     provide the unique benefits of unitary adjudication, economies of scale, and comprehensive
25
     supervision over the entire controversy by a single judge in a single court.
26

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1                51.   The Classes may be certified pursuant to F.R.C.P. 23(b)(2) because Defendant has
2
     acted on grounds generally applicable to the Classes, thereby making final injunctive relief and
3
     corresponding declaratory relief appropriate with respect to the claims raised by the Classes.
4
                 52.   The Classes may also be certified pursuant to F.R.C.P. 23 (b)(3) because questions
5

6    of law and fact common to members of the Classes will predominate over questions affecting

7    individual members, and a class action is superior to other methods for fairly and efficiently
8
     adjudicating the controversy and causes of action described in this Complaint.
9
                 53.   The claims asserted herein are applicable to Plaintiff and members of the Classes.
10
                 54.   Adequate notice can be given to Class Members directly using information
11

12   maintained in Defendant’s records or, if necessary, through notice by publication.

13               55.   Damages may be calculated from the data maintained in Defendant’s records, so
14
     that the cost of administering a recovery for the Classes can be minimized.
15
                                             CAUSES OF ACTION
16
                                                    COUNT I
17

18                                  Violations of Cal. Civ. Code § 1671(d)

19               56.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were
20
     set forth herein in their entirety.
21
                 57.   Plaintiff brings this claim individually and on behalf of the members of the Classes
22
     against Apple.
23

24               58.   Civil Code § 1671(d) states that a contractual provision, in a contract for the retail

25   purchase or rental of personal property or services primarily for the party’s personal, family, or
26
     household purposes, liquidating damages for the breach of the contract, is void except that the
27
     parties to such a contract may agree therein on an amount that shall be presumed to be the amount
28

                                                         19
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1    of the damage sustained by a breach thereof, when, from the nature of the clause, it would be
2
     impracticable or extremely difficult to fix that actual damage. Apple’s Terms and Conditions is
3
     a contract for the purchase of services primarily for personal, family, or household use by Plaintiff
4
     and the Class.
5

6                59.   Once Apple determined that Plaintiff and the Class Members breached its Terms

7    and Conditions, Apple’s termination of their Apple IDs constitutes an impermissible liquidated
8
     damages provision under California law.
9
                 60.   Here, Apple’s termination of Plaintiff’s Apple ID resulted in damages of
10
     $24,590.05 to Plaintiff.
11

12               61.   The subject liquidated damages clause states:

13                           TERMINATION AND SUSPENSION OF SERVICES
14
                       If you fail, or Apple suspects that you have failed, to comply with
15                     any of the provisions of this Agreement, Apple may, without
                       notice to you: (i) terminate this Agreement and/or your Apple
16                     ID, and you will remain liable for all amounts due under your
                       Apple ID up to and including the date of termination; and/or (ii)
17
                       terminate your license to the software; and/or (iii) preclude your
18                     access to the Services.

19                Apple further reserves the right to modify, suspend, or discontinue
                  the Services (or any part or Content thereof) at any time with or
20
                  without notice to you, and Apple will not be liable to you or to any
21                third party should it exercise such rights.
     (Emphasis added).
22
                 62.   While Apple does not identify this clause in its Terms and Conditions as a
23

24   liquidated damages provision, it nonetheless operates as such a provision.

25               63.   The clause at issue is a liquidated damages clause because, while it does not state
26
     a fixed and certain amount, it provides a formula by which the amount is certain or readily
27
     ascertainable.
28

                                                        20
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1                64.   Here, the amount is certain and/or readily ascertainable because the amount of the
2
     liquidated damages is the value of the breaching customer’s Apple ID when Apple terminates it.
3
     While the value of each customer’s Apple ID may vary, the value of the account when Apple
4
     terminates the Apple ID is the liquidated damage.
5

6                65.   The termination of Plaintiff’s and the Classes’ Apple IDs, the contractual

7    provisions that provide for them, and the imposition of the same by Apple - violate Civil Code §
8
     1671(d) and are unlawful, void, and unenforceable under that statute.
9
                 66.   If and to the extent that Apple suffers, would suffer, or has suffered any damages
10
     due to the breach of its Terms and Conditions by Plaintiff or members of the Classes, it would
11

12   not be impracticable, nor would it be difficult, to determine them with certainty.

13               67.   Furthermore, the liquidated damages, provided for in the Terms and Conditions,
14
     do not reflect a reasonable endeavor by Apple to fix fair average compensation for any harm that
15
     Apple would suffer, may suffer, or has suffered, if any, from said breaches.
16
                 68.   The Terms and Conditions is a contract of adhesion drafted by Apple and
17

18   presented to its customers on a “take it or leave it” basis with no opportunity for any prospective

19   customer to negotiate any of its provisions.
20
                 69.   The provision in the Terms and Conditions that permits Apple to terminate its
21
     customers’ Apple IDs is a liquidated damages provision that fails to comply with the standards
22
     set forth in Civil Code § 1671(d), and therefore constitutes impermissible contractual penalties.
23

24               70.   Apple’s termination of Plaintiff’s and the Classes’ Apple IDs violates, and at all

25   times relevant hereto, has violated, Civil Code § 1671(d).
26
                 71.   Plaintiff and the Classes have suffered an injury in fact resulting in the loss of
27
     money and/or property, i.e. the services and Content accessible only through their Apple IDs – or
28

                                                       21
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1    the value thereof, and the Apple account balance, as a proximate result of Apple’s violations of
2
     law and wrongful conduct alleged herein.
3
                 72.     Pursuant to Civil Code § 1671(d), Plaintiff individually and on behalf of the
4
     Classes, seeks an order of this Court preliminarily and permanently enjoining Apple from
5

6    terminating Apple IDs for breach of its Terms and Conditions as alleged herein.

7                73.     Plaintiff also seeks, inter alia, an order requiring Apple to:
8
                         a.     cease its unlawful acts and practices as set forth herein;
9
                         b.     make full restitution of the value of all terminated Apple IDs;
10
                         c.     make full restitution of the diminished value of all Apple devices that had
11

12                              a terminated Apple ID associated with them;

13                       d.     disgorge all ill-gotten revenues and/or profits; and
14
                         e.     provide such other and further relief as may be just and proper.
15
                 WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
16
                                                      COUNT II
17

18                     Violation Of California’s Consumers Legal Remedies Act (“CLRA”),
                                      California Civil Code §§ 1750, et seq.
19
                 74.     Plaintiff hereby incorporates the foregoing paragraphs as though the same were
20

21   set forth herein in their entirety.

22               75.     Plaintiff brings this claim individually and on behalf of the members of the
23
     proposed Classes against Defendant.
24
                 76.     This cause of action is brought pursuant to California’s Consumers Legal
25
     Remedies Act, Cal. Civ. Code §§ 1750-1785 (the “CLRA”).
26

27

28

                                                           22
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1                77.   Plaintiff and the other members of the Classes are “consumers,” as the term is
2
     defined by California Civil Code § 1761(d), because entered into Apple’s contract and/or
3
     transaction for the purchase of services primarily for personal, family, or household purposes.
4
                 78.   Plaintiff and the other members of the Classes, and Defendant have engaged in
5

6    “transactions,” as that term is defined by California Civil Code § 1761(e).

7                79.   The conduct alleged in this Complaint constitutes unfair methods of competition
8
     and unfair and deceptive acts and practices for the purpose of the CLRA, and the conduct was
9
     undertaken by Defendant in transactions intended to result in, and which did result in, the sale of
10
     goods to consumers, consumer transactions, and/or consumers entering into contracts with
11

12   Defendant.

13               80.   Defendant violated the CLRA by representing that a transaction confers or
14
     involves rights, remedies, or obligations that it does not have or involve, or that are prohibited by
15
     law, as identified herein above.
16
                 81.   Defendant also violated the CLRA by inserting an unconscionable provision in the
17

18   contract, as identified herein above.

19               82.   As a result of engaging in such conduct, Defendant violated California Civil Code
20
     §§ 1770(a)(4), (a)(9), (a)(14), (a)(16) and (a)(19).
21
                 83.   Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff, on behalf of
22
     himself and the Classes, mailed a letter to Defendant via its registered agent on April 16, 2021
23

24   putting Defendant on notice of its alleged violations of the CLRA, demanding that Defendant

25   correct such violations, and providing it with the opportunity to correct its business practices. If
26
     Defendant does not thereafter correct its business practices, Plaintiff will amend (or seek leave to
27

28

                                                       23
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1    amend) the complaint to add claims for monetary relief, including restitution and actual damages
2
     under the Consumers Legal Remedies Act.
3
                 84.   Pursuant to California Civil Code § 1780, Plaintiff seeks injunctive relief, his
4
     reasonable attorney fees and costs, and any other relief that the Court deems proper.
5

6                                                 COUNT III

7                       Violation of California’s Unfair Competition Law (“UCL”),
                         California Business and Professions Code §17200, et seq.
8

9                                          Unlawful Business Practice

10               85.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were
11
     set forth herein in their entirety.
12
                 86.   Plaintiff brings this claim individually and on behalf of the members of the Classes
13
     against Apple.
14

15               87.   The UCL prohibits “any unlawful, unfair or fraudulent business act or practice….”

16   Cal. Bus. & Prof. Code §17200. Apple’s acts and practices are unfair in that (i) they are immoral,
17
     unethical, oppressive, unscrupulous, and substantially injurious to consumers; (ii) they harm
18
     consumers in a manner far outweighing any legitimate utility of their conduct; (iii) the injury was
19
     not one that consumers reasonably could have avoided; and (iv) they were contrary to legislatively
20

21   declared and public policy.

22               88.   Apple’s continuing imposition and enforcement of the unconscionable and
23
     unlawful clause in its Terms and Conditions, granting Apple unfettered discretion to terminate its
24
     customers’ Apple IDs merely on suspicion of a breach of the same and imposing a prohibited
25
     liquidated damages provision, constitutes unlawful business practices in violation of Bus. & Prof.
26

27   Code §§ 17200 et seq. The subject clause states:

28                           TERMINATION AND SUSPENSION OF SERVICES

                                                        24
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1                      If you fail, or Apple suspects that you have failed, to comply with
                       any of the provisions of this Agreement, Apple may, without notice
2
                       to you: (i) terminate this Agreement and/or your Apple ID, and
3                      you will remain liable for all amounts due under your Apple ID up
                       to and including the date of termination; and/or (ii) terminate your
4                      license to the software; and/or (iii) preclude your access to the
                       Services.
5

6                 Apple further reserves the right to modify, suspend, or discontinue
                  the Services (or any part or Content thereof) at any time with or
7                 without notice to you, and Apple will not be liable to you or to any
                  third party should it exercise such rights.
8
     (Emphasis added).
9
                 89.   The above clause in its Terms and Conditions permitting Apple to terminate
10
     Plaintiff’s and the Class Members’ Apple IDs on mere suspicion is immoral, unethical, oppressive,
11

12   unscrupulous, and substantially injurious to its consumers.

13               90.   Here Apple suspected that Plaintiff breached its Terms and Conditions and was
14
     able, due to the subject clause, and seized $24,590.05 worth of his property by terminating his
15
     Apple ID also preventing Plaintiff from accessing the $7.63 still available in his Apple Account
16
     for purchases.
17

18               91.   Due to the subject unconscionable clause, Apple does not have to confirm that a

19   breach occurred or give Plaintiff and the Class Members notice, due process, or even an
20
     explanation before it terminated their Apple IDs and seized their property.
21
                 92.   Further, while Apple does not identify the above clause in its Terms and
22
     Conditions as a liquidated damages provision, it nonetheless operates as such a provision.
23

24               93.   By determining that Apple will terminate its customers’ Apple IDs in the event of

25   a breach of its Terms and Conditions, the sum is fixed and certain by agreement at the value of
26
     its customers’ Apple IDs when Apple terminates them.
27

28

                                                       25
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1                94.   The clause at issue is a liquidated damages clause because, while it does not state
2
     a fixed and certain amount, it provides a formula by which the amount is certain or readily
3
     ascertainable. Here, the amount is certain and/or readily ascertainable because the amount is the
4
     value of the breaching customer’s Apple ID when Apple terminates the Apple ID. While the
5

6    value of each customer’s Apple ID may vary, the value of the account when Apple terminates the

7    Apple ID is the liquidated damage.
8
                 95.   Further, Apple’s continuing imposition and enforcement of its unlawful,
9
     unconscionable, and unenforceable liquidated damages clause, as set forth above, constitutes an
10
     unlawful business practice in violation of Bus. & Prof. Code §§ 17200 et seq.
11

12               96.   Plaintiff and the Class Members have suffered harm as a proximate result of

13   Apple’s violations of law and wrongful conduct as alleged herein.
14
                 97.   The inclusion of the subject clause in Apple’s Terms and Conditions and its
15
     cancelation of Plaintiff’s and the Class’s Apple IDs also violate Civil Code § 1670.5 because the
16
     liquidated damages clause is unconscionable.
17

18               98.   Apple’s prospective customers have no meaningful choice with respect to the

19   inclusion of the subject clause in the Terms and Conditions nor in the amount or manner of the
20
     liquidated damages. The Terms and Conditions is drafted by Apple and presented to prospective
21
     customers on a “take it or leave it” basis with no opportunity or possibility of negotiating any
22
     different terms and conditions with Apple. As such, the subject provision in Apple’s Terms and
23

24   Conditions is procedurally unconscionable.

25               99.   The subject clause is unreasonably favorable to Apple and unduly harsh with
26
     respect to its customers and therefore is substantively unconscionable. For example, Apple only
27
     has to suspect that its customers breached its Terms and Conditions and it can seize their property.
28

                                                        26
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1    Further, terminating its customer’s Apple IDs has no relationship whatsoever to any damages
2
     incurred by Apple, if any, as a result of a suspected breach of its Terms and Conditions.
3
                 100.   By granting itself the sole discretion to determine a breach of its Terms and
4
     Conditions based mere suspicion and then terminating Plaintiff’s and the Classes’ Apple IDs as
5

6    a result thereof, Apple violated the Consumers Legal Remedies Act, Civil Code § 1750 et seq., as

7    the subject clause is an unconscionable, unenforceable, and illegal provision in violation of Civil
8
     Code §§ 1770(a)(4), (a)(9), (a)(14), (a)(16) and (a)(19).
9
                 101.   Plaintiff and the Class members have suffered an injury in fact resulting in the loss
10
     of money and/or property as a result of Apple suspecting that they have breached its Terms and
11

12   Conditions and Apple terminating their Apple IDs.

13               102.   Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an order of this Court
14
     permanently enjoining Apple from continuing to engage in its unfair and unlawful conduct as
15
     alleged herein.
16
                 103.   Plaintiff also seeks, inter alia, an order requiring Apple to:
17

18                      a.        cease its unlawful acts and practices as set forth herein;

19                      b.        make full restitution of the value of all terminated Apple IDs;
20
                        c.        make full restitution of the diminished value of all Apple devices that had
21
                                  a terminated Apple ID associated with them;
22
                        d.        disgorge all ill-gotten revenues and/or profits; and
23

24                      e.        provide such other and further relief as may be just and proper.

25               WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
26
                                                       COUNT IV
27
                             Violation of California’s Unfair Competition Law (“UCL”),
28                           California Business and Professions Code §§ 17200, et seq.

                                                            27
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1
                                             Unfair Business Practice
2

3                104.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were

4    set forth herein in their entirety.
5
                 105.   Plaintiff brings this claim individually and on behalf of the members of the Classes
6
     against Apple.
7
                 106.   Apple’s conduct, as herein alleged, constitutes an unfair business practice within
8

9    the meaning of Bus. & Prof. Code §§ 17200, et seq.

10               107.   Apple violated the “unfair” prong of the UCL by requiring Plaintiff and the Class
11
     Members to enter into contracts of adhesion which include the Apple ID termination provision,
12
     by enforcing the contractual provisions that provide for the termination of its customers’ Apple
13
     IDs, and by terminating its customers’ Apple IDs.
14

15               108.   Apple’s practices with respect to the termination of its customers’ Apple IDs

16   violate the “unfair” prong of the UCL because the termination of the Apple IDs: (1) constitutes
17
     unfair and wrongful penalties inconsistent with the language and policy of Civil Code § 1671;
18
     and (2) constitute unconscionable provisions, in violation of various laws and policies recognized
19
     by the California Legislature and the California courts, including without limitation Civil Code §
20

21   1670.5 and the CLRA.

22               109.   Apple’s practices with respect to the termination of its customers’ Apple IDs also
23
     violate the “unfair” prong of the UCL because the utility of terminating Apple IDs is significantly
24
     outweighed by the gravity of the harm that it imposes on its consumers.
25
                 110.   The termination of Apple IDs has limited or no utility as compared with
26

27   alternatives that would more fairly measure the harm (if any) incurred by Apple when its

28   customers violate its Terms and Conditions.

                                                         28
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1                111.   The gravity of the harm that the termination of its customers’ Apple IDs imposed
2
     on its customers is substantial in that it grossly exceeds the actual amount of harm (if any) incurred
3
     by Apple when a customer breaches its Terms and Conditions.
4
                 112.   Through its termination of its customers’ Apple IDs, Apple has been massively
5

6    and unjustly enriched.

7                113.   Apple’s termination of its customers’ Apple IDs also violates the “unfair” prong
8
     of the UCL because the inclusion of the subject clause permitting the same in its Terms and
9
     Conditions, is and, at all times relevant hereto, has been oppressive, unscrupulous, and/or
10
     substantially injurious to its customers as set forth herein.
11

12               114.   Apple’s practices, with respect to terminating its customers’ Apple IDs, also

13   violate the “unfair” prong of the UCL because the inclusion of the subject clause in its Terms and
14
     Conditions and Apple’s enforcement of the same causes substantial harm that is not outweighed
15
     by countervailing benefits to consumers or competition, and its customers could not reasonably
16
     have avoided the harm.
17

18               115.   Apple’s practices with respect to the termination of its customers’ Apple IDs also

19   violate the “unfair” prong of the UCL for the reasons set forth in Count III, above.
20
                 116.   Plaintiff and the Class Members have suffered an injury in fact resulting in the loss
21
     of money and/or property as a result of having their Apple IDs terminated.
22
                 117.   Pursuant to Bus. & Prof. Code § 17203, Plaintiff seeks an order of this Court
23

24   permanently enjoining Apple from continuing to engage in its unfair and unlawful conduct as

25   alleged herein. Plaintiff also seeks an order requiring Apple to:
26
                        a.     cease its unlawful acts and practices as set forth herein;
27
                        b.     make full restitution of the value of all terminated Apple IDs;
28

                                                         29
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1                       c.     make full restitution of the diminished value of all Apple devices that had
2
                               a terminated Apple ID associated with them;
3
                        d.     disgorge all ill-gotten revenues and/or profits; and
4
                        e.     Provide such other and further relief as may be just and proper.
5

6                WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.

7                                                   COUNT V
8
                         Violation Of California’s Unfair Competition Law (“UCL”),
9                          California Business & Professions Code §§ 17200, et seq.

10                                         Fraudulent Business Practices
11
                 118.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were
12
     set forth herein in their entirety.
13
                 119.   Plaintiff brings this claim individually and on behalf of the members of the
14

15   proposed Classes against Defendant.

16               120.   Defendant is subject to California’s Unfair Competition Law, Cal. Bus. & Prof.
17
     Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition shall mean and
18
     include . . . fraudulent business practices and unfair, deceptive, untrue or misleading advertising
19
     ….”
20

21               121.   Defendant violated the “unlawful” prong of the UCL by violating the CLRA and

22   the FAL, as referenced herein.
23
                 122.   Defendant violated the “fraudulent” prong of the UCL by requiring Plaintiff and
24
     the Classes to enter into contracts of adhesion which include the Apple ID termination provision,
25
     by enforcing the contractual provisions that provide for the termination of its customers’ Apple
26

27   IDs, by terminating its customers’ Apple IDs, and/or by preventing its customers from accessing

28   any unused money in their Apple Accounts.

                                                        30
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1                123.   Defendant also violated the “fraudulent” prong of the UCL by representing that
2
     customers’ Apple IDs and the money in their accounts is valuable and can be used to purchased
3
     Content, when in Apple prevents its customers from accessing the Content they paid for when it
4
     terminates their Apple IDs, and if these customers have any unused money in their Apple
5

6    Accounts, they lose access to those unspent funds as well.

7                124.   Plaintiff and the Class Members lost money or property as a result of Defendant’s
8
     UCL violations because they would not have entered into a contract with Apple and/or created an
9
     Apple ID on the same terms if they knew that the representations Apple made as stated herein
10
     were false or misleading.
11

12                                                COUNT VI

13                        Violation Of California’s False Advertising Law (“FAL”),
                          California Business & Professions Code §§ 17500, et seq.
14

15               125.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were

16   set forth herein in their entirety.
17
                 126.   Plaintiff brings this claim individually and on behalf of the members of the
18
     proposed Classes against Defendant.
19
                 127.   California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,
20

21   makes it “unlawful for any person to make or disseminate or cause to be made or disseminated

22   before the public in this state, ... in any advertising device ... or in any other manner or means
23
     whatever, including over the Internet, any statement, concerning ... personal property or services,
24
     professional or otherwise, or performance or disposition thereof, which is untrue or misleading
25
     and which is known, or which by the exercise of reasonable care should be known, to be untrue
26

27   or misleading.”

28

                                                        31
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1                128.   Defendant committed acts of false advertising, as defined by §§ 17500, et seq., by
2
     requiring Plaintiff and the Class Members to enter into contracts of adhesion which include the
3
     Apple ID termination provision, by enforcing the contractual provisions that provide for the
4
     termination of its customers’ Apple IDs, by terminating its customers’ Apple IDs, and/or
5

6    preventing its customers from accessing any unused money in their Apple Accounts.

7                129.   Defendant also violated the FAL by representing that customers’ Apple IDs and
8
     the money in their accounts is valuable and can be used to purchased Content, when in reality
9
     Apple prevents its customers from accessing the Content they paid for when it terminates their
10
     Apple IDs, and if these customers have any unused money in their Apple Accounts, they lose
11

12   access to those unspent funds as well.

13               130.   Defendant knew or should have known through the exercise of reasonable care
14
     that its representations it made were untrue and misleading.
15
                 131.   Defendant’s actions in violation of §§ 17500, et seq. were false and misleading
16
     such that the general public is and was likely to be deceived. Plaintiff and the Class Members
17

18   lost money or property as a result of Defendant’s FAL violations because they would not have

19   entered into a contract with Apple and/or created an Apple ID on the same terms if they knew
20
     that the representations Apple made as stated herein were false or misleading.
21
                                                   COUNT VII
22
                                                    Conversion
23

24               132.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were

25   set forth herein in their entirety.
26
                 133.   Plaintiff brings this claim individually and on behalf of the members of the Classes
27
     against Apple.
28

                                                         32
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1                134.   By unlawfully, as set forth above, terminating Plaintiff’s and the Class members’
2
     Apple IDs, Apple has wrongfully exercised dominion over the property, i.e. money, Apps,
3
     services, TV shows, movies, music, books and/or Content in their Apple accounts, of Plaintiff
4
     and the Class.
5

6                135.   Plaintiff and the Classes have an ownership interest in, or have a right to the

7    possession of, the money, Apps, services, TV shows, movies, music, books, and/or Content they
8
     purchased through Apple and which are only accessible using their Apple IDs, which Apple
9
     unlawfully, as set forth above, terminated.
10
                 136.   Apple intentionally interfered with the rights of Plaintiff and the Classes when it
11

12   unlawfully terminated their Apple IDs, as set forth above, thus depriving them of the money,

13   Apps, services, TV shows, movies, music, books, and/or Content in their terminated Apple
14
     accounts.
15
                 137.   Plaintiff and the Classes demand the return of the money, Apps, services, TV
16
     shows, movies, music, books, and/or Content in their terminated Apple accounts.
17

18               138.   Apple’s unlawful termination of Plaintiff’s and the Class Members’ Apple IDs

19   deprived Plaintiff and the Classes of the money, Apps, services, TV shows, movies, music, books,
20
     and/or Content in their terminated Apple accounts.
21
                 139.   This interference with the money, Apps, services, TV shows, movies, music,
22
     books, and/or Content in their terminated Apple accounts damaged Plaintiff and the Class
23

24   Members in that they owned and/or paid for this content and can no longer access or utilize it.

25               140.   Plaintiff and the Class Members are entitled to the return of the money, Apps,
26
     services, TV shows, movies, music, books, and/or Content in their terminated Apple accounts or
27
     the monetary value of the same.
28

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1                WHEREFORE, Plaintiff prays for judgment against Defendant Apple along with punitive
2
     damages, costs, attorneys’ fees, and whatever other relief the Court deems appropriate.
3

4                                                  COUNT VIII
5
                                   Trespass to Chattels Under California Law
6
                 141.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were
7
     set forth herein in their entirety.
8

9                142.   Plaintiff brings this claim individually and on behalf of the members of the Classes

10   against Apple.
11
                 143.   Plaintiff and the Class members maintained actual or constructive possession of
12
     their Apple devices during the time period in which Apple terminated their Apple IDs.
13
                 144.   Defendant Apple intentionally interfered with Plaintiff’s and the Class Members’
14

15   use of their Apple devices by terminating their Apple IDs, which prevented them from being able

16   to access the money, services, Apps, music, movies, TV shows, books, or Content in their
17
     terminated Apple accounts and which were only accessible through their Apple IDs.
18
                 145.    Plaintiff and the Classes do not consent to Apple’s interference.
19
                 146.   Apple’s interference was the actual and proximate cause of injury to Plaintiff and
20

21   the Classes because it actually and substantially harmed the functioning of their Apple devices by

22   preventing Plaintiff and the Classes from accessing the money, services, Apps, music, movies,
23
     TV shows, books, or Content in their terminated Apple accounts, on their Apple devices.
24
                 147.   This harm to the functioning of their Apple devices significantly impaired the
25
     devices’ condition, quality, and value.
26

27               148.   Apple’s interference was malicious and oppressive.

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1                149.   Apple knew and intended that its conduct would cause injury to Plaintiff and the
2
     Class.
3
                 150.   Apple acted despicably and with conscious disregard of Plaintiff’s and the Classes’
4
     rights.
5

6                151.   As a result of Apple’s interference with their Apple devices, Plaintiff and the

7    Classes are entitled to recover the actual damages they suffered in an amount to be determined at
8
     trial, as well as punitive damages in an amount to be determined at trial.
9
                 WHEREFORE, Plaintiff prays for judgment against Defendant Apple along with punitive
10
     damages, costs, attorneys’ fees, and whatever other relief the Court deems appropriate.
11

12                                                 COUNT IX

13                                             Unjust Enrichment
14
                 152.   Plaintiff hereby incorporates the foregoing paragraphs as though the same were
15
     set forth herein in their entirety.
16
                 153.   Plaintiff brings this claim individually and on behalf of the members of the Classes
17

18   against Apple.

19               154.   Plaintiff and putative Class Members conferred a benefit on Defendant when they
20
     purchased an Apple device and/or created an Apple ID and purchased Content. By its wrongful,
21
     illegal, and unconscionable acts and omissions described herein, including requiring Plaintiff and
22
     the Classes to enter into contracts of adhesion which include the Apple ID termination provision,
23

24   by enforcing the contractual provisions that provide for the termination of its customers’ Apple

25   IDs, by terminating its customers’ Apple IDs, and/or preventing its customers from accessing any
26
     unused money in their Apple Accounts, Defendant was unjustly enriched at the expense of
27
     Plaintiff and putative Class Members.
28

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1                155.   Plaintiff’s detriment and Defendant’s enrichment were related to and flowed from
2
     the wrongful, illegal, and unconscionable conduct challenged in this Complaint.
3
                 156.   Defendant has profited from its unlawful, unfair, unconscionable, and illegal
4
     practices at the expense of Plaintiff and putative Class Members under circumstances in which it
5

6    would be unjust for Defendant to be permitted to retain the benefit. It would be inequitable for

7    Defendant to retain the profits, benefits, and other compensation obtained from its wrongful,
8
     illegal, and unconscionable conduct as described herein.
9
                 157.   Defendant has been unjustly enriched in retaining the revenues derived from Class
10
     Members’ purchases of an Apple device and/or creation of an Apple ID and/or purchases of
11

12   Content, which retention of such revenues under these circumstances is unjust and inequitable

13   because Defendant requires Plaintiff and the Class Members to enter into contracts of adhesion
14
     which include the Apple ID termination provision, enforces the contractual provisions that
15
     provide for the termination of its customers’ Apple IDs, terminates its customers’ Apple IDs
16
     and/or prevents its customers from accessing any unused money in their Apple Accounts, which
17

18   caused injuries to Plaintiff and the putative Class Members because they would not have entered

19   into a contract with Apple and/or created an Apple ID on the same terms but for Defendant’s
20
     wrongful, illegal, and unconscionable conduct as described herein.
21
                 158.   Plaintiff and putative Class Members have been damaged as a direct and proximate
22
     result of Defendant’s unjust enrichment because they would not have entered into a contract with
23

24   Apple and/or created an Apple ID on the same terms but for Defendant’s wrongful, illegal, and

25   unconscionable conduct as described herein.
26
                 159.   Defendant either knew or should have known that payments rendered by Plaintiff
27
     and putative Class Members were given and received with the expectation that Plaintiff and the
28

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1    Class would be able to create an Apple ID and/or purchase Content but instead Defendant requires
2
     Plaintiff and the Class Members to enter into contracts of adhesion which include the Apple ID
3
     termination provision, enforces the contractual provisions that provide for the termination of its
4
     customers’ Apple IDs, terminates its customers’ Apple IDs, and/or prevents its customers from
5

6    accessing any unused money in their Apple Accounts. It is inequitable for Defendant to retain

7    the benefit of payments under these circumstances.
8
                 160.   Plaintiff and putative Class Members are entitled to recover from Defendant all
9
     amounts wrongfully collected and improperly retained by Defendant.
10
                 161.   As a direct and proximate result of Defendant’s wrongful conduct and unjust
11

12   enrichment, Plaintiff and putative Class Members are entitled to restitution of, disgorgement of,

13   and/or imposition of a constructive trust upon all profits, benefits, and other compensation
14
     obtained by Defendant for its inequitable, unconscionable, and unlawful conduct.
15
                                             PRAYER FOR RELIEF
16
                 WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays:
17

18               A.     For an order certifying the Nationwide Class and/or SubClass and appointing

19   Plaintiff and the undersigned counsel of record to represent the Nationwide Class and/or
20
     SubClass;
21
                 B.     For a permanent injunction enjoining Apple, its partners, joint ventures,
22
     subsidiaries, agents, servants, and employees, and all persons acting under, in concert with them
23

24   directly or indirectly, or in any manner, from in any way engaging in the unfair and unlawful

25   practices and violations of law set forth herein;
26
                 C.     For full restitution of all funds acquired from Apple’s unfair business practices and
27
     other violations of law, including disgorgement of profits;
28

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1                D.     For imposition of a constructive trust upon all monies and assets Apple has
2
     acquired as a result of its unfair practices;
3
                 E.     For damages according to proof, except for no monetary damages under the
4
     CLRA;
5

6                F.     For punitive and/or treble damages except for no monetary damages under the

7    CLRA;
8
                 G.     For a judicial declaration regarding the validity of Apple’s liquidated damages
9
     provisions in its Terms and Conditions;
10
                 H.     For costs of suit herein;
11

12               I.     For both pre- and post-judgment interest on any amounts awarded;

13               J.     For payment of reasonable attorneys’ fees; and
14
                 K.     For such other and further relief as the Court may deem proper.
15
                                         DEMAND FOR JURY TRIAL
16
                 Plaintiff hereby demands a trial by jury.
17

18   Dated: April 20, 2021                                   Respectfully submitted,

19                                                            /s/ Jonathan Shub
                                                              Jonathan Shub (C.A. Bar No. 237708)
20
                                                              Kevin Laukaitis *
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9                                                aknox@timoneyknox.com

10                                               Attorneys for Plaintiff and
                                                 the Proposed Class
11

12                                               *Pro Hac Vice Application Forthcoming

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1                CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
2
                 I, Jonathan Shub, declare as follows:
3
                 1. I am an attorney at law licensed to practice in the State of California and a member of
4
     the bar of this Court. I am an attorney at Shub Law Firm LLC, counsel of record for Plaintiff in
5

6    this action. I have personal knowledge of the facts set forth in this declaration and, if called as a

7    witness, I could and would competently testify thereto under oath.
8
                 2. The Complaint filed in this action is filed in the proper place for trial under Civil Code
9
     Section 1780(d) in that a substantial portion of the events alleged in the Complaint occurred in
10
     the Northern District of California. I declare under the penalty of perjury under the laws of the
11

12   State of New Jersey and/or California and the United States that the foregoing is true and correct

13   and that this declaration was executed in Haddonfield, New Jersey this 20th day of April, 2021.
14
                                                                /s/ Jonathan Shub
15                                                              Jonathan Shub

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